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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
CALIFORNIA PUBLIC EMPLOYEES’ )                  Civ. No. 24-cv-1743 (JMB/DTS)
RETIREMENT SYSTEM, Individually and )
on Behalf of All Others Similarly Situated, )   CLASS ACTION
                                            )
                           Plaintiff,           [PROPOSED] ORDER GRANTING
                                            )
                                                LEAD PLAINTIFF’S NOTICE OF
                                            )
      vs.                                       RELATED CASE AND UNOPPOSED
                                            )
                                                MOTION FOR PROPOSED
UNITEDHEALTH GROUP INC., et al., )              STIPULATED SCHEDULE
                                            )
                           Defendants.      )
                                            )




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         Having considered Lead Plaintiff’s Notice of Related Case and Unopposed Motion for

Proposed Stipulated Schedule, the Court ORDERS as follows:

         1.         All current deadlines for motion to dismiss briefing are vacated; and

         2.         The parties will submit a status update on the motion to transfer pending in

related case Faller v. UnitedHealth Group Inc., No. 1:25-cv-03799-AKH (S.D.N.Y.) by June

18, 2025.

         IT IS SO ORDERED.



DATED: _____________________________________________________________
                                THE HONORABLE DAVID T. SCHULTZ
                                UNITED STATES MAGISTRATE JUDGE




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